Case 1:18-cv-01074-PL|\/|-RSK ECF No. 1 filed 09/14/18 Page|D.l Page 1 of 10

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MICHIGAN

 

SOUTHERN DIVISION
MUSKEGON COUNTY SHERIFF’S Civil Case No. 1:18-cv-
DEPARTMENT,
Honorable
Plaintiff, U.S. District Judge
v

HARBOR GUARD BOATS, INC.

Defendant.

 

Douglas M. Hughes (P30958)
doughughes@williamshugheslaw.com
Williarns Hughes, PLLC

Muskegon County Corporate Counsel
Attorneys for Plaintiff

120 W. Apple Avenue, P.O. Box 599
Muskegon, MI 49443-0599

(231) 726-4857

 

COMPLAINT
NOW COMES the Muskegon County Sherift’s Department, by and through its attorneys

of Williams Hughes, PLLC, for its complaint against the Defendant and states as follows:

INTRODUCTION
l. Plaintiff is located in Muskegon County, State of Michigan.
2. Defendant Harbor Guard Boats, Inc. is a California corporation with its principal

place of business in Santa Ana, California.
3. In 2014, the County of Muskegon received a $604,575.00 Homeland

Security grant as a part of the United States Federal Government’s Port Security Grant Program.

V:\MBG\com\sheriff\l-larbor Guard Boat\Complaint.docx

Case 1:18-cv-01074-PL|\/|-RSK ECF No. 1 filed 09/14/18 Page|D.Z Page 2 of 10

The County of Muskegon allotted those funds to the Muskegon County Sheriff’s Department to
purchase a new boat.

4. On November 6, 2014, the Muskegon County Sheriff’s Department received a
quote from Defendant for the purchase of a Harbor Guard Firehawk 32, model number F32-FP-
AL-CBRNE (“Harbor Guard boat”). See Quotation No. MCSO-F32 dated November 6, 2014,
attached as Exhibit A.

5. On December 9, 2014, the Muskegon County Board of Commissioners approved
the purchase of the Harbor Guard boat from Defendant. See Muskegon County Board of
Commissioners’ Full Board Meeting minutes dated December 9, 2014, attached as Exhibit B.

6. During the purchase and receipt of the Harbor Guard boat, the sitting Sheriff of
Muskegon County was Dean Roesler.

7. On December 10, 2014, the Muskegon County Sherift`s Department received an
invoice for $602,050.00. See Invoice No. MCSO-F 32 dated December lO, 2014, attached as
Exhibit C.

8. Plaintiff purchased from Defendant the Harbor Guard Boat which was ordered
with specific equipment installed. See Boat and Trailer Speciflcations, attached as Exhibit D.
Exhibit D is referenced in Exhibit C as the “specifications attached.” Also included was to be a
visit by two Sheriff’s Deputies to inspect the Ha.rbor Guard boat, which never happened.

9. The Harbor Guard boat was delivered to the Muskegon County SherifF s
Department in July of 2016.

10. When the Harbor Guard boat was delivered it had items missing and vital

equipment had been installed incorrectly, demonstrating only partial performance by Defendant.

V:\MBG\com\sherift\Harbor Guard Boat\Complaint.docx

Case 1:18-cv-01074-PL|\/|-RSK ECF No. 1 filed 09/14/18 Page|D.S Page 3 of 10

11. Plaintiff accepted delivery, knowing the Harbor Guard boat was not finished,
because Plaintiff reasonably relied on Defendant’s promise to finish it.

12. When the current Sheriff, Michael Poulin, took office in 2017, he learned that the
Harbor Guard boat was missing a substantial amount of equipment, and that some of the
equipment was installed incorrectly.

13. On September 25, 2017, Plaintiff called Defendant to discuss the missing
equipment and improper installation of equipment.

14. On September 26, 2017 when Plaintiff had not heard from Defendant, Plaintiff
emailed Defendant to inquire about the missing equipment.

15. Defendant repeatedly told Plaintiff they “were waiting on managemen ” or
“waiting on production” to speak with Plaintiff.

16. October 6, 2017, Defendant emailed Plaintiff to say Defendant would bring the
Harbor Guard boat back to California for the winter to finish it.

17. October 9, 2017, Plaintiff compiled a list of equipment that was either installed
improperly or missing. See list attached as Exhibit E.

18. E-mail communication between Plaintiff and Defendant continued and as the date
of this complaint, the Harbor Guard boat has still not been finished and it cannot be used as
intended by the Muskegon County Sheriff’s Department See the e-mail chain between Plaintiff
and Defendant, attached as Exhibit F.

19. Although Defendants only partially performed the contract, Plaintiff has already

paid in full.

V:\MBG\com\sheriff\Harbor Guard Boat\Complaint.docx 3

Case 1:18-cv-01074-PL|\/|-RSK ECF No. 1 filed 09/14/18 Page|D.4 Page 4 of 10

JURISDICTION AND VENUE

20. Jurisdiction is proper pursuant to 28 U.S.C.S. § 1332 which states in relevant
part: “(a) The district courts shall have original jurisdiction of all civil actions where the matter
in controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is
between-- (1) Citizens of different States”. See State of California Secretary of State Statement
of Information dated February 7, 2018, which is attached as Exhibit G.

21. The amount in controversy, excluding costs, interest and attorney fees, is
$108,000.00.

22. Additionally, jurisdictional requirements found at MCL 600.715(1) and (5)
provide in relevant part:

The existence of any of the following relationships between a corporation or its

agent and the state shall constitute a sufficient basis of jurisdiction to enable the

courts of record of this state to exercise limited personal jurisdiction over such

corporation and to enable such courts to render personal judgments against such

corporation arising out of the act or acts which create any of the following

relationships:

(1) The transaction of any business within the state.

(5) Entering into a contract for services to be performed or for materials to be

furnished in the state by the defendant.

23. The Harbor Guard boat in question is located in Muskegon, Michigan. Venue is
proper pursuant to 28 U.S.C.S. § 1391(b) (2) which states in relevant part: “(b) Venue in
general. A civil action may be brought in-- (2) a judicial district in which a substantial part of
the events or omissions giving rise to the claim occurred, or a substantial part ofDroz)ertv that is
the subject of the action is situated (emphasis added).”

COUNT I
BREACH OF CONTRACT

24. Paragraphs l through 22 are fully incorporated herein.

V:\MBG\com\sheriff\l-larbor Guard Boat\Complaint.docx 4

Case 1:18-cv-01074-PL|\/|-RSK ECF No. 1 filed 09/14/18 Page|D.B Page 5 of 10

25. Defendant breached its contract with Plaintiff by failing to complete the work as
required by the contract.

26. Defendant breached the contract with Plaintiff by failing to perform and/or
partially performing in accordance with industry standards and/or by failing to complete certain
work on the Harbor Guard boat.

27. As a direct and proximate result of Defendant’s breach of contract, Plaintiff has
suffered damages including, without limitation, $108,000.00 to complete and repair the work on
the Harbor Guard boat, plus court costs and attorney fees.

WHEREFORE, Plaintiff prays this Court enter a judgment against Defendant in favor of
Plaintiff in the amount of $108,000.00 together with costs, attorney fees and interest.

M
UNJUST ENRICHMENT/QUANTUM MERUIT

28. Paragraphs 1 through 26 are fully incorporated herein.

29. Defendant, by inducing Plaintiff to perform on the contract, has received a benefit
from Plaintiff and has been unjustly enriched in an amount exceeding $108,000.00.

30. It would be inequitable to allow Defendant to benefit from the money provided by
the Plaintiff without adequate compensation

WHEREFORE, Plaintiff prays this Court enter a judgment against Defendant in favor of
Plaintiff in the amount of $108,000.00 together with costs, attorney fees and interest.

COUNT III
DETRIMENTAL RELIANCE/PROMISSORY ESTOPPEL

31. Paragraphs 1 through 29 are fully incorporated herein.

32. Pursuant to the contract, Defendant made a definite and clear promise to fully

V:\MBG\com\sheriff\l-larbor Guard Boat\Complaint.docx 5

Case 1:18-cv-01074-PL|\/|-RSK ECF No. 1 filed 09/14/18 Page|D.€ Page 6 of 10

perform and make the Harbor Guard boat whole and useable.

33. Defendant should have reasonably expected its promise to induce action of a
definite and substantial character by Plaintiff.

34. Defendant’s promise to make the Harbor Guard boat useable did in fact produce
substantial reliance as Plaintiff paid the full contract price for a boat that is incomplete and
unusable.

35. Defendant’s promise must be enforced to avoid injustice.

WHEREFORE, Plaintiff prays this Court enter a judgment against Defendant in favor of
Plaintiff in the amount of $108,000.00 together with costs, attorney fees and interest.

COUNT IV
MICHIGAN CONSUMER PROTECTION ACT

36. Paragraphs 1 through 34 are fully incorporated herein.

37. Under the Michigan Consumer Protection Act, Defendant was in the process of
conducting trade or commerce as that phrase is defined in MCL 445.902.

38. Defendant violated the Consumer Protection Act by acting in an unfair,
unconscionable and deceptive manner, including, without limitation, “failure ...to provide the
promised benefits.” MCL 445.903(1)(y).

39. Defendant further violated the Consumer Protection Act by: “[c]ausing a
probability of confusion or of misunderstanding with respect to the authority of a salesperson,
representative, or agent to negotiate the final terms of a transaction.” MCL 445.903(1)(m)
Defendant has only stalled, avoided, and misled Plaintiff by using a sales person with limited
authority to communicate with Plaintiff when the Harbor Guard boat should have already been

made whole.

V:\MBG\com\sheriff\l-larbor Guard Boat\Complaint.docx 6

Case 1:18-cv-01074-PL|\/|-RSK ECF No. 1 filed 09/14/18 Page|D.? Page 7 of 10

40. As a direct and proximate result of Defendant’s actions, Plaintiff has suffered
damages including, without limitation, $108,000.00 to complete and repair the work on the
Harbor Guard boat, plus court costs and attorney fees.

WHEREFORE, Plaintiff prays this Court enter a judgment against Defendant in favor of
Plaintiff in the amount of $108,000.00 together with costs, attorney fees and interest.

COUNT V
U.C.C. BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

41. Paragraphs 1 through 39 are fully incorporated herein.

42. The property at issue here is a boat, which is moveable, therefore the “goods”
requirement of the Uniform Commercial Code is met.

43. ln relevant part, U.C.C. § 2-314 provides, “a warranty that the goods shall be
merchantable is implied in a contract for their sale if the seller is a merchant with respect to
goods of that kind.”

44. Defendant is a merchant in goods of the kind at issue here. Defendant sells and
manufactures boats as its sole purpose. More specifically the Harbor Guard boat Plaintiff
expected to get was a working boat and Defendant prides itself in working with police and fire
departments all over the United States by providing that specific type of good.

45. U.C.C. § 2-314 also provides:

(2) Goods to be merchantable must be at least such as (a) pass without objection

in the trade under the contract description; and (b) in the case of fungible goods,

are of fair average quality within the description; and (c) are fit for the ordinary

purposes for which such goods are used; and (d) run, within the variations

permitted by the agreement, of even kind, quality and quantity within each unit

and among all units involved; and (e) are adequately contained, packaged, and

labeled as the agreement may require; and (f) conform to the promise or
affirmations of fact made on the container or label if any.

V:\MBG\com\sherifl\l-larbor Guard Boat\Complaint.docx j

Case 1:18-cv-01074-PL|\/|-RSK ECF No. 1 filed 09/14/18 Page|D.S Page 8 of 10

Defendant did not deliver the Harbor Guard boat in working condition. Plaintiff has been trying
to contact Defendant to remedy this situation, however, Defendant has only been putting Plaintiff
off and stalling to avoid remedying the situation.

46. The Harbor Guard boat still cannot be used by Plaintiff. Defendant regularly
deals in this type of special boat. The Harbor Guard boat is not even suitable for use as a leisure
boat, much less a high performance safety vehicle to patrol harbors and save lives.

WHEREFORE, Plaintiff prays this Court enter a judgment against Defendant in favor of
Plaintiff in the amount of $108,000.00 together with costs, attorney fees and interest

LUNTL
U.C.C. BREACH OF EXPRESS WARRANTY

47. Paragraphs 1 through 45 are fully incorporated herein.

48. Express warranties are also governed by the U.C.C. and the Defendant clearly
violated all express warranties made to Plaintiff. Those warranties were made in Exhibits A, C,
D, F, and through course of dealing.

49. Pursuant to § 2-313 of the U.C.C. express warranties are created by:

(a) Any affirmation of fact or promise made by the seller to the buyer which

relates to the goods and becomes part of the basis of the bargain creates an

express warranty that the goods shall conform to the affirmation or promise.

(b) Any description of the goods which is made part of the basis of the bargain
creates an express warranty that the goods shall conform to the description.

(c) Any sample or model which is made part of the basis of the bargain creates an
express warranty that the whole of the goods shall conform to the sample or
model.

50. Defendant made express promises to the Muskegon County Sheriff’ s Department,

both by invoice and by attaching the Harbor Guard boat specifications to that invoice. Defendant

V:\MBG\com\sheriff\l-larbor Guard Boat\Complaint.docx 8

Case 1:18-cv-01074-PL|\/|-RSK ECF No. 1 filed 09/14/18 Page|D.Q Page 9 of 10

delivered the Harbor Guard boat unfinished, with the promise that it would be finished by
Defendant at a later date.

WHEREFORE, Plaintiff prays this Court enter a judgment against Defendant in favor of
Plaintiff in the amount of $108,000.00 together with costs, attorney fees and interest.

COUNT VII
BREACH OF IMPLIED WARRANTY OF FITNESS FOR A PARTICULAR PURPOSE

51. Paragraphs l through 49 are fully incorporated herein.

52. The Uniform Cormnercial Code also provides for an implied warranty of fitness
for a particular purpose. More specifically the U.C.C. states:

§ 2-315. Implied Warranty: Fitness for Particular Purpose.

Where the seller at the time of contracting has reason to know any particular

purpose for which the goods are required and that the buyer is relying on the

seller's skill or judgment to select or furnish suitable goods, there is unless

excluded or modified under the next section an implied warranty that the goods

shall be fit for such purpose.

5 3. As the name of the boat implies, Defendant knew this boat was specifically for
keeping the Muskegon County harbor safe. Plaintiff, the Sheriff’ s Department for Muskegon
County, relied on Defendant to send a boat that could be used for the specific purpose of
guarding the water and its harbors. There was no other person or group who would have used
this boat, except for the Muskegon County Sheriff's Department.

54. At the time of sale, Defendant absolutely had a reason to know that Plaintiff, and
only the Plaintiff, would be using the Harbor Guard boat for the particular purpose of guarding
the harbors of Muskegon,

WHEREFORE, Plaintiff prays this Court enter a judgment against Defendant in favor of

Plaintiff in the amount of $108,000.00 together with costs, fees and interest.

V:\MBG\com\sheriti\Harbor Guard Boat\Complaint.docx 9

CaSe 1218-CV-01074-PL|\/|-RSK ECF NO. 1 filed 09/14/18 Page|D.lO Page 10 Of 10

Dated: -' 13 ,2018

V:\MBG\com\sheriFi\Harbor Guard Boat\Complaint.docx

WILLIAMS HUGHES, PLLC

 

Attorney for P a 'ff
Business Address:
120 W. Apple Avenue, P.O. Box 599
Muskegon, MI 49443-0599
Telephone: (231) 726-4857

10

